                                  Case 18-11120-BLS                  Doc 1        Filed 05/10/18           Page 1 of 19

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Videology, Inc.

2.   All other names debtor
     used in the last 8 years
                                  FKA TidalTV, Inc.
     Include any assumed          DBA Videology Group
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1500 Whetstone Way, Suite 500
                                  Baltimore, MD 21230
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baltimore City                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://videologygroup.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-11120-BLS                 Doc 1        Filed 05/10/18            Page 2 of 19
Debtor    Videology, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5415

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment 1                                             Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 18-11120-BLS                      Doc 1      Filed 05/10/18             Page 3 of 19
Debtor   Videology, Inc.                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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                  Case 18-11120-BLS       Doc 1     Filed 05/10/18     Page 5 of 19



                                           Attachment 1

                              LIST OF AFFILIATED DEBTORS

        On the date hereof, each of the affiliated entities listed below (including the Debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of Title 11 of the United
States Code. Contemporaneously with the filing of their petitions, these entities filed a motion
requesting that the Court administratively consolidate for procedural purposes only and jointly
administer their chapter 11 cases.

1.       Videology, Inc.
2.       Collider Media, Inc.
3.       Videology Media Technologies, LLC
4.       LucidMedia Networks, Inc.
5.       Videology Ltd.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                               :
In re:                                         : Chapter 11
                                               :
VIDEOLOGY, INC.,                               : Case No. 18-_____ (___)
                                               :
                         Debtor.               : Tax I.D. XX-XXXXXXX
                                               :


                      CONSOLIDATED LIST OF CREDITORS
           HOLDING 30 LARGEST UNSECURED CLAIMS AGAINST DEBTORS

        The following is a list of creditors (the “List of Creditors”) holding the 30 largest
unsecured claims against the above-captioned Debtor and certain of its debtor affiliates
(collectively, the “Debtors”), all of which simultaneously have commenced chapter 11 cases in
this Court. The List of Creditors has been prepared on a consolidated basis from the unaudited
books and records of the Debtors with estimated amounts as of March 28, 2018. The List of
Creditors is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in the Debtors’
chapter 11 cases. The List of Creditors does not include (i) persons that come within the
definition of “insider” set forth in 11 U.S.C. § 101(31) or (ii) secured creditors unless the value
of the collateral is such that the unsecured deficiency places the creditor among the holders of the
30 largest unsecured claims. The information contained herein shall not constitute an admission
of liability by, nor is it binding on, the Debtors. Moreover, nothing herein shall affect any
Debtor’s right to challenge the amount or characterization of any claim at a later date. The
failure to list a claim as contingent, unliquidated or disputed does not constitute a waiver of any
Debtor’s right to contest the validity, priority and/or amount of any such claim.




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                          Case 18-11120-BLS                    Doc 1        Filed 05/10/18           Page 10 of 19




     Fill in this information to identify the Case:

     Debtor Videology, Inc., et al.

     United States Bankruptcy Court for the:_______ District of Delaware
                                                                                                                ☐ Check if this is an
     Case Number (if known):______________________________                                                          amended filing



     OFFICIAL FORM 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not Insiders                                           12/15

     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
     debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
     claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders
     of the 30 largest unsecured claims.



Name of Creditor and complete mailing           Name, telephone number,         Nature of       Indicate if     Amount of unsecured claim
address, including zip code                     and email address of creditor   the claim       claim is
                                                contact                         (example,       contingent,     If the claim is fully unsecured, fill in only
                                                                                trade debts,    unliquidated,   unsecured claim amount. If claim is
                                                                                bank loans,     or disputed     partially secured, fill in total claim amount
                                                                                professional                    and deduction for value of collateral or
                                                                                services, and                   setoff to calculate unsecured claim
                                                                                government
                                                                                contracts)

                                                                                                                Total claim,      Dedu      Unsecured
                                                                                                                if partially      ction
                                                                                                                secured           for
                                                                                                                                  value
                                                                                                                                  of
                                                                                                                                  collat
                                                                                                                                  eral
                                                                                                                                  or
                                                                                                                                  setoff

1.       GroupM UK                              Attn: Tom George, CEO
         24-28 Bloomsbury Way,                  Phone: 44 20 7158 5000          Trade Debt                                                  $18,204,169.16
         London, UK


2.       Finecast Limited                       Attn: Legal Dept.
         27 Farm Street,                        Phone: 44 20 7408 2204          Trade Debt                                                  $12,341,863.92
         London W1J 5RJ UK                      Fax: 44 20 7493 6819


3.       Pinnacle Ventures Equity               Attn: Legal Dept.               Success Fee
         Fund II, L.P.                          Phone: 650-926-7800                                                                         $5,650,000.00
         1600 El Camino Real, Ste. 250          Fax: 650-926-7801
         Menlo Park, CA 94025-4120

4.       Group M Worldwide Inc.                 Attn: Tom George, CEO
         498 Fashion Ave.                       Phone: 212-297-8181             Trade Debt                                                  $5,000,000.00
         New York, NY 10018                     Fax: 212-297-8120




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     Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 30 Largest Unsecured Claims
                        Case 18-11120-BLS
     Debtor Videology, Inc., et al.
                                                            Doc 1        Filed 05/10/18 Page 11 of 19
                                                                          Case number (if known) __________________________
             Name



Name of Creditor and complete mailing        Name, telephone number,         Nature of       Indicate if      Amount of unsecured claim
address, including zip code                  and email address of creditor   the claim       claim is
                                             contact                         (example,       contingent,      If the claim is fully unsecured, fill in only
                                                                             trade debts,    unliquidated,    unsecured claim amount. If claim is
                                                                             bank loans,     or disputed      partially secured, fill in total claim amount
                                                                             professional                     and deduction for value of collateral or
                                                                             services, and                    setoff to calculate unsecured claim
                                                                             government
                                                                             contracts)

                                                                                                              Total claim,      Dedu      Unsecured
                                                                                                              if partially      ction
                                                                                                              secured           for
                                                                                                                                value
                                                                                                                                of
                                                                                                                                collat
                                                                                                                                eral
                                                                                                                                or
                                                                                                                                setoff

5.       Sky Adsmart                         Attn: Legal Dept.
         160 Victoria Street                 Phone: 020 7032 2000            Trade Debt                                                   $4,656,982.94
         Westminster, London SW1E
         5LB

6.       Junfer Tech LLC                     Editora el Sol, SA de CV,
         Editora el Sol, SA de CV,           Attn: Jorge A. Meléndez         Convertible                                                  $4,340,442.51
         Attn: Jorge A. Meléndez             Washington 629 Ote.             Debt
         Washington 629 Ote.                 Monterrey
         Monterrey                           Nuevo León 64000
         Nuevo León 64000                    México
         México                              52-818-150-8815
7.       HarbourVest/NYSTRS Co-              Phone: 617-348-3759
         Invest Fund L.P.                    Fax: 617-350-0305               Convertible                                                  $2,699,760.00
         One Financial Center                                                Debt
         44th Floor
         Boston, MA 02111

8.       Pinnacle Ventures LLC               Attn: Legal Dept.
         1600 El Camino Real, Ste. 250       Phone: 650-926-7800             Success Fee                                                  $2,000,000.00
         Menlo Park, CA 94025-4120           Fax: 650-926-7801


9.       Ferlin Investments, LLC             Attn: Jason W. Ellin
         P.O. Box 1567                       Fax: 443-269-0096               Convertible                                                  $1,800,000.00
         Stony Brook, NY 11790                                               Debt


10.      Pinnacle Ventures Equity            Attn: Legal Dept.
         Fund II, L.P.                       Phone: 650-926-7800             Convertible                                                  $1,759,530.03
         1600 El Camino Real, Ste. 250       Fax: 650-926-7801               Debt
         Menlo Park, CA 94025-4120

11.      LucidMedia Holdings, LLC            Attn: John Kohler
         f/k/a Entrieva, Inc.                Sr. Director, Impact Capital    Convertible                                                  $1,500,000.00
         P.O. Box 8130                       Program                         Debt
         11490 Commerce Park Drive           Phone: 703-207-0040
         Suite 220                           Fax: 703-391-9139
         Reston, VA 20191




                                                                       2
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     Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 30 Largest Unsecured Claims
                     Case 18-11120-BLS
  Debtor Videology, Inc., et al.
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                                                                       Case number (if known) __________________________
          Name



Name of Creditor and complete mailing     Name, telephone number,         Nature of       Indicate if      Amount of unsecured claim
address, including zip code               and email address of creditor   the claim       claim is
                                          contact                         (example,       contingent,      If the claim is fully unsecured, fill in only
                                                                          trade debts,    unliquidated,    unsecured claim amount. If claim is
                                                                          bank loans,     or disputed      partially secured, fill in total claim amount
                                                                          professional                     and deduction for value of collateral or
                                                                          services, and                    setoff to calculate unsecured claim
                                                                          government
                                                                          contracts)

                                                                                                           Total claim,      Dedu      Unsecured
                                                                                                           if partially      ction
                                                                                                           secured           for
                                                                                                                             value
                                                                                                                             of
                                                                                                                             collat
                                                                                                                             eral
                                                                                                                             or
                                                                                                                             setoff

12.   Edward Greenspan
      77 Aspetong Road                                                    Convertible                                                  $1,350,000.00
      Bedford, NY 10506                                                   Debt
                                          teddy.greenspan@tag-
                                          arts.com
13.   AdapTV                              Attn: Legal Dept.
      1 Waters Park Drive                 Phone: 650-212-1003             Trade Debt                                                   $1,124,406.28
      Suite 250                           Fax: 650-312-9223
      San Mateo, CA 94403

14.   SmartX                              Attn: Legal Dept.
      97 Charlotte Street                 Phone: +44 77 3746 8845         Trade Debt                                                   $1,009,877.02
      London, UK W1T 4QA


15.   Beachfront Media                    Attn: Legal Dept.
      135 West 41 Street, 5th Floor       Phone: 310-740-9255             Trade Debt                                                   $935,364.20
      New York, NY 10036
                                          info@beachfrontmedia.com

16.   Ad Karma                            Phone: 573-446-5740
      3806 Buttonwood Drive                                               Trade Debt                                                   $926,353.90
      Columbia. MO 65201


17.   Perform Sporting News, LLC          Attn: Legal Dept.
      4th Floor Uniton House              Phone: 44 20 8484 0800          Trade Debt                                                   $775,982.82
      65-69 Sheperds Bush                 Fax: 44 20 8484 0808
      London, UK Q12 8TX

18.   FuturesMedia                        Attn: Legal Dept.
      Beauford Court                                                      Trade Debt                                                   $715,256.40
      Bath, UK, BA1 2BW


19.   LHP Media Group                     Attn: Legal Dept.
      817 East Hillsboro Blvd.                                            Trade Debt                                                   $660,944.51
      Deerfield Beach, FL 33441           Info@lhpmediagroup.com


20.   Optimatic Media, Inc.               Attn: Legal Dept.
      261 Madison Avenue                  Phone: 212-968-0600             Trade Debt                                                   $628,121.38
      New York, NY 10016
                                          bizdev@optimatic.com


                                                                    3
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  Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 30 Largest Unsecured Claims
                     Case 18-11120-BLS
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                                                                       Case number (if known) __________________________
          Name



Name of Creditor and complete mailing     Name, telephone number,         Nature of       Indicate if      Amount of unsecured claim
address, including zip code               and email address of creditor   the claim       claim is
                                          contact                         (example,       contingent,      If the claim is fully unsecured, fill in only
                                                                          trade debts,    unliquidated,    unsecured claim amount. If claim is
                                                                          bank loans,     or disputed      partially secured, fill in total claim amount
                                                                          professional                     and deduction for value of collateral or
                                                                          services, and                    setoff to calculate unsecured claim
                                                                          government
                                                                          contracts)

                                                                                                           Total claim,      Dedu      Unsecured
                                                                                                           if partially      ction
                                                                                                           secured           for
                                                                                                                             value
                                                                                                                             of
                                                                                                                             collat
                                                                                                                             eral
                                                                                                                             or
                                                                                                                             setoff

21.   Exelate, Inc.                       Attn: Legal Dept.
      28803 Network Place                 Phone: 646-380-4400             Trade Debt                                                   $607,695.95
      Chicago, IL 60673-1288


22.   Theodore J. Leonsis, Trustee,       Attn: Legal Dept.
      Theodore J. Leonsis                                                 Convertible                                                  $600,000.00
      Revocable Trust Dated                                               Debt
      3/21/00
      11231 River View Drive
      Potomac, MD 20854-1565

23.   SpotXchange, Inc.                   Attn: Legal Dept.
      Dept. LA 24040                      Phone: 303-345-6650             Trade Debt                                                   $599,393.86
      Pasadena, CA 91185


24.   comScore, Inc.                      Attn: Legal Dept.
      14140 Collection Center Drive       Phone: 312-775-6470             Trade Debt                                                   $590,000.00
      Chicago, IL 60693


25.   Ascend Video LLC                    Attn: Legal Dept.
      7171 West 95th Street               Phone: 913-469-1110             Trade Debt                                                   $565,116.16
      Suite 300
      Overland Park, KS 66212
                                          bkay@ascendintegratedme
                                          dia.com
26.   Vungle, Inc.                        Attn: Legal Dept.
      185 Clara St., Suite 100            Phone: 951-181-5377             Trade Debt                                                   $563,168.15
      San Francisco, CA 94107             Phone: 415-963-9227


27.   ITV plc                             Attn: Legal Dept.
      200 Gray’s Inn Road                 Phone: +44 20 7156 6000         Trade Debt                                                   $547,814.16
      London, UK WC1X 8HF
                                          groupsecretariat@itv.com

28.   AOL Advertising, Inc.               Phone: 020 1701 0514
      Shropshire House                    Alt Ph: 020 7492 1000           Trade Debt                                                   $519,373.83
      11-20 Capper Street                 Fax: 020 7492 1099
      London, UK WC1E 6JA
                                          infouk@teamaol.com



                                                                    4
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                     Case 18-11120-BLS
  Debtor Videology, Inc., et al.
                                                         Doc 1        Filed 05/10/18 Page 14 of 19
                                                                       Case number (if known) __________________________
          Name



Name of Creditor and complete mailing     Name, telephone number,         Nature of       Indicate if      Amount of unsecured claim
address, including zip code               and email address of creditor   the claim       claim is
                                          contact                         (example,       contingent,      If the claim is fully unsecured, fill in only
                                                                          trade debts,    unliquidated,    unsecured claim amount. If claim is
                                                                          bank loans,     or disputed      partially secured, fill in total claim amount
                                                                          professional                     and deduction for value of collateral or
                                                                          services, and                    setoff to calculate unsecured claim
                                                                          government
                                                                          contracts)

                                                                                                           Total claim,      Dedu      Unsecured
                                                                                                           if partially      ction
                                                                                                           secured           for
                                                                                                                             value
                                                                                                                             of
                                                                                                                             collat
                                                                                                                             eral
                                                                                                                             or
                                                                                                                             setoff

29.   Yahoo (BRX)                         Attn: Legal Dept.
      17-19 Guillaume Tell                Phone: 33 142 27 47 25          Trade Debt                                                   $517,606.88
      Paris, France


30.   Philip Archer                       (512) 495-1992
      5802 Gentle Breeze Ter.             512.407.9787 (W)                Convertible                                                  $506,391.60
      Austin, TX 78731                    512.680.9558 (M)                Debt

                                          phil@wiserpartners.com




                                                                    5
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  Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 30 Largest Unsecured Claims
                 Case 18-11120-BLS       Doc 1     Filed 05/10/18   Page 15 of 19



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                 :
In re:                                           : Chapter 11
                                                 :
VIDEOLOGY, INC.,                                 : Case No. 18-_____ (___)
                                                 :
                         Debtor.                 : Tax I.D. XX-XXXXXXX
                                                 :

                             CORPORATE OWNERSHIP STATEMENT

         Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

class of the above-captioned Debtor’s equity interests:

                    Holder                    Kind of Interest      Percentage of Ownership
 Comcast Ventures, LP                     Common Stock              11.84%
 New Enterprise Associates 12,            Common Stock              17.27%
 Limited Partnership
 Valhalla Partners II, L.P.               Common Stock              13.15%




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                 :
In re:                                           : Chapter 11
                                                 :
VIDEOLOGY, INC.,                                 : Case No. 18-_____ (___)
                                                 :
                         Debtor.                 : Tax I.D.: XX-XXXXXXX
                                                 :

                           LIST OF EQUITY SECURITY HOLDERS

       Following is the list of the Debtors’ equity security holders. The list has been prepared in
accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in these chapter 11 cases.

 Name and Address of          Name and Last Known Address of          Kind of Interest     Number
       Debtor                     Equity Interest Holder                                   of Shares
                                                                                              Held
Videology, Inc.               Tidal Group LLC                         Class A Voting         265,000
1500 Whetstone Way            c/o Scott A. Ferber                     Common Stock            (100%)
Suite 500                     2409 Boston Street
Baltimore, MD 21230           Baltimore, MD 21224
Videology, Inc.               Richard D. Ferber, Trustee, SF Family   Class B Non-         1,500,000
1500 Whetstone Way            Trust, U/D Dated September 30, 2007     Voting Common         (38.25%)
Suite 500                     Richard D. Ferber                       Stock
Baltimore, MD 21230           2315 Velvet Ridge Drive
                              Owings Mills, MD 21117
Videology, Inc.               New Enterprise Associates 12, Limited   Series A Non-          573,637
1500 Whetstone Way            Partnership                             Voting Convertible    (26.33%)
Suite 500                     1119 St. Paul Street                    Preferred Stock
Baltimore, MD 21230           Baltimore, MD 21202
Videology, Inc.               Valhalla Partners II, L.P.              Series A Non-          575,796
1500 Whetstone Way            c/o Wednesday Management LLC            Voting Convertible    (26.43%)
Suite 500                     8000 Towers Crescent Drive              Preferred Stock
Baltimore, MD 21230           Suite 1050
                              Vienna, VA 22182
Videology, Inc.               Valhalla Partners II, L.P.              Series B Voting        300,000
1500 Whetstone Way            c/o Wednesday Management LLC            Convertible           (12.72%)
Suite 500                     8000 Towers Crescent Drive              Preferred Stock
Baltimore, MD 21230           Suite 1050
                              Vienna, VA 22182
Videology, Inc.               Tidal Group LLC                         Series B Voting        431,848
1500 Whetstone Way            Attn.: Scott Ferber                     Convertible           (18.31%)
Suite 500                     720 S. Montford Ave.                    Preferred Stock
Baltimore, MD 21230           Baltimore, MD 21224



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 Name and Address of       Name and Last Known Address of          Kind of Interest     Number
       Debtor                  Equity Interest Holder                                   of Shares
                                                                                           Held
Videology, Inc.            Comcast Ventures, LP                    Series B Voting        863,694
1500 Whetstone Way         Attn: David Horowitz                    Convertible           (36.62%)
Suite 500                  1201 Market Street, Suite 1000          Preferred Stock
Baltimore, MD 21230        Wilmington, DE 19801
Videology, Inc.            New Enterprise Associates 12, Limited   Series C Senior        866,666
1500 Whetstone Way         Partnership                             Voting Convertible    (32.04%)
Suite 500                  1119 St. Paul Street                    Preferred Stock
Baltimore, MD 21230        Baltimore, MD 21202
Videology, Inc.            Valhalla Partners II, L.P.              Series C Senior        566,666
1500 Whetstone Way         c/o Wednesday Management LLC            Voting Convertible    (20.95%)
Suite 500                  8000 Towers Crescent Drive              Preferred Stock
Baltimore, MD 21230        Suite 1050
                           Vienna, VA 22182
Videology, Inc.            Comcast Ventures, LP                    Series C Senior        566,666
1500 Whetstone Way         Attn: David Horowitz                    Voting Convertible    (20.95%)
Suite 500                  1201 Market Street, Suite 1000          Preferred Stock
Baltimore, MD 21230        Wilmington, DE 19801
Videology, Inc.            Group M Worldwide, Inc.                 Series C Senior        675,000
1500 Whetstone Way         498 Seventh Avenue                      Voting Convertible    (24.95%)
Suite 500                  New York NY 10018                       Preferred Stock
Baltimore, MD 21230
Videology, Inc.            Catalyst Investors QP III, L.P.         Series D Senior      1,165,850
1500 Whetstone Way         Attn: Ryan McNally                      Voting Convertible    (27.32%)
Suite 500                  711 Fifth Avenue, Suite 600             Preferred Stock
Baltimore, MD 21230        New York, NY 10022
Videology, Inc.            New Enterprise Associates 12, Limited   Series D Senior        937,500
1500 Whetstone Way         Partnership                             Voting Convertible    (21.97%)
Suite 500                  Attn.: Patrick Kerins                   Preferred Stock
Baltimore, MD 21230        1119 St. Paul Street
                           Baltimore, MD 21202
Videology, Inc.            Valhalla Partners II, L.P.              Series D Senior        625,000
1500 Whetstone Way         Attn.: Arthur Marks                     Voting Convertible    (14.65%)
Suite 500                  c/o Wednesday Management LLC            Preferred Stock
Baltimore, MD 21230        8000 Towers Crescent Drive
                           Suite 1050
                           Vienna, VA 22182
Videology, Inc.            Christopher Duncan                      Series X Voting         23,491
1500 Whetstone Way         6421 Aden Lane                          Convertible           (11.78%)
Suite 500                  Austin, TX 78739                        Preferred Stock
Baltimore, MD 21230
Videology, Inc.            D. Bryan Jones                          Series X Voting         28,189
1500 Whetstone Way         3936 Sendero Dr.                        Convertible           (14.13%)
Suite 500                  Austin, TX 78735                        Preferred Stock
Baltimore, MD 21230

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 Name and Address of       Name and Last Known Address of         Kind of Interest   Number
       Debtor                  Equity Interest Holder                                of Shares
                                                                                        Held
Videology, Inc.            Junfer Tech LLC                        Series X Voting       57,939
1500 Whetstone Way         Editora el Sol / Jorge A. Meléndez     Convertible         (29.05%)
Suite 500                  Washington 629 Ote.                    Preferred Stock
Baltimore, MD 21230        Monterrey
                           Nuevo León 64000
                           México
Videology, Inc.            LucidMedia Holdings, LLC               Series Y Voting       53,400
1500 Whetstone Way         Attn: John Kohler                      Convertible         (49.13%)
Suite 500                  c/o Redleaf Group Inc.                 Preferred Stock
Baltimore, MD 21230        16033 Matilija Dr.
                           Los Gatos, CA 95030
Videology, Inc.            LucidMedia Holdings, LLC               Series Y Voting       55,300
1500 Whetstone Way         Attn: John Kohler                      Convertible         (50.87%)
Suite 500                  c/o Redleaf Group Inc.                 Preferred Stock
Baltimore, MD 21230        16033 Matilija Dr.
                           Los Gatos, CA 95030




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